                                            Case 2:19-cv-00030-TS Document 1 Filed 01/14/19 Page 1 of 1
.IS 44 (Rev. 08/18)                                                                 CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTIWCTIONS ON NEXT PAGE OF 'l'f/IS FORM.)

I. (a) PLAINTIFFS                                                                                                                       DEFENDANTS
                                                                                                                                        Volvo Group North America, LLC, Volvo Trucks North America,
            Gurmit Dhesi and Kulvinder Kaur Dhesi                                                                                       Inc.
                                                            Sacramento, CA                                                                                                Guilford County
          (b) County of Residence of First Listed Plaintiff                                                                             County of Residence of First Listed Defendant
                                        (fi'XCF:PT IN U.S. PLAINTIFF CASF:S)                                                                                   (IN U.S. PLAINTIFF CASES ONl,Y)
                                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                THE TRACT OF LAND INVOLVED.

          (c)    Attorneys (Firm Name, Address, and Telephone       Num_b~I)                                                            Attorneys (l[Known)
           Colin King, Dewsnup King Olsen Wore! Havas Mortensen     Scot A. Boyd & Bryson R. Brown, Christensen & Jensen, P.C.
           36 South State Street, Salt Lake City, UT 84111          257 East 200 South, Suite 1100 Salt Lake City, UT 84111
           Phone: 801 533-0400                                      Phone: 801 323-5000
    II. BASIS OF JURISDICTION (Place an "X"inOneBoxOnlyJ   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in one Box/or l'lainllfl
                                                                                                                                 (For Diverslly Cases Only)                                                                     and One Box/or D~fendanl)
    "' I     U.S. Government                 ·" 3 Federal Question                                                                                         PTF                                 DEF                                            PTF       DEF
                                                                                                                           Citizen of This State            ll.• I                             11    I     Incorporated or Principal Place      · «' 4   •i 4
                Plaintiff                           (U.S. Governmenl Not a Party)
                                                                                                                                                                                                             of Business In This State

    "' 2 U.S. Government                     X4      Diversity                                                             Citizen of Another State                  i)( 2                                 Incorporated and Principal Place                      :ffl   5   i)(5
            Defendant                                  (lndicale Citizenship a/Parries in llem lll}                                                                                                           of Business In Another State

                                                                                                                           Citizen or Subject of a                   "'3                       "·    3     Foreign Nation                                        irn
                                                                                                                                                                                                                                                                        6   " 6
                                                                                                                             Forei ltl Comltl
    IV NATURE< OF SUIT (Place an "X" in One Box Only)                                                                                                                                          Click here for: Nature of Suit Code Descrintions.
I                 CONTRACT                              .   ,·
                                                                       :;\f,OKilIS : '   '•>   ·~   ., ,,
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    •·    110 Insurance                            PERSONAL INJURY:                 PERSONAL INJURY                        '" '625 Drng Related Seizure                  '"'422 Appeal 28 USC 158                                             .,.375 False Claims Act
    '·'   120 Marine                          "310 Airplane                     P<365 Personal lnjmy -                             of Property 21 USC 881                ·" '423 Withdrawal                                                    " 376 Qui Tam (3 I use
    "     130 Miller Act                    · "'3 15 Airplane Product                   Product Liability                  "'"690 Other                                          28 USC 157                                                             3729(a))
    ,.    140 Negotiable lnsa·ument                      Liability              '' '367 Health Care/                                                                                                                                        'It 400 State Reapportionment
    "     150 Recove1y of Overpayment         "'320 Assault, Libel &                    Pharmaceutical                                                                   .,.. .,,,.
                                                                                                                                                                          1 1
                                                                                                                                                                                                            ~y      14"11"-H.'l::O..'   .      " 410 Antitrust
               & Enforcement of .Judgment                Slander                        Personal Injury                                                                    "   820 Copyrights                                                .,., 430 Banks and Banking
    1'    15 I Medicare Act                 .,, '330 Federal Employers'                 Product Liability                                                                ·•ns30 Patent                                                      .. ,,. 450 Commerce                   .'


                                                                               ·» '368 Asbestos Personal                                                                 'i'l '835 Patent - Abbreviated                                        11 · 460 Depm1ation
          I52 Recovery of Defaulted                      Liability
               Student Loans                'I! 340 Marine                               Injury Product                                                                            New Drng Application                                      "ll 470 Racketeer Influenced and
               (Excludes Veterans)                 345 Marine Product                    Liability                                                                       cl'! '840 Trademark                                                            Corrnpt Organizations
    "     I53 Recove1y of Overpayment                    Liability                PERSONAL PROPERTY:                                      ; f,Ac1.,r1 11z •   -,-         .                               ""-1,',                              'L 480 Consumer Credit
                                                                                                                                                                                      1
               of Veteran's Benefits          "350 Motor Vehicle                "' 370 Other Fraud          "' '710 Fair Labor Standards                                      86!
                                                                                                                                                                              "                 HIA (1395ff)                                 ·" · 485 Telephone Consumer
    ,,    160 Stockholders' Suits             "355 Motor Vehicle                " 371 Trnth in Lending                 Act                                                '" '862               Black Lnng (923)                                        Protection Act
    "     190 Other Contract                            Product Liability       '"380 Other Personal        'fl•720 Labor/Management                                      'tlis63               DIWC/DIWW (405(g))                          'W 490 Cable/Sat TV
                                              11 '360 Other Personal                                                                                                      "111864               SSID Title XVI                               "!\ 850 Securities/Commodities/
    ''    195 Contract Product Liability                                                Properly Damage                Relations
    •·    196 Franchise                                                         1"385 Property Damage        1''740 Railway Labor Act                                      tn865                RSI (405(g))
                                                        lnJmy                                                                                                                                                                                  _.,      Exchange
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                                                                                        Product Liability    ,. · 751 Family and Medical                                                                                                     :u·890 Other Statutmy Actions
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I             llEAT PROPERTY:                       . CX:Vl·L lUGl'ITS           PRtSON.Jl:Jl,PETlT.l'ONS . ·" '790 Other Labor Litigation                                            •-F'E'.OlJiR•AT'-TA'X\.SUITS, ,.                         11
                                                                                                                                                                                                                                                  '893 Environmental Matters
    "     210 Land Condemnation               " 440 Other Civil Rights              Habeas Corpus:          '"'791 Employee Retirement                                    ""870 Taxes (U.S. Plaintiff                                        -" 895 Freedom oflnformation .
                                                                                  1
    •·    220 Foreclosure                    "'441 Voting                      ' " 463 Alien Detainee                 Income Security Act                                          or Defendant)                                                        Act                      .'
                                                                                                                                                                           11
    ''    230 Rent Lease & Ejcctment          ""442 Employment                   "' 510 Motions to Vacate                                                                     '871 IRS-Third Party                                             " 896 Arbitration
    "     240 Torts to Land                   " 443 Housing/                             Sentence                                                                                  26 USC 7609                                                      899 Adminisa·ative Procedure
    "     245 Tot1 Product Liability                    Accommodations         C!P 530    General                                                                                                                                                       Act/Review or Appeal of
    "     290 All Other Real Property         IL445 Amer. w/Disabilities -      'tn 53 5 Death Penalty                         ·_ ·· . IMMIG!lA::VI           ·~                                                                                        Agency Decision
                                                                                                                           1
                                                        Employment                    Other:                                   ·"·462 Naturalization Application                                                                               <1; 950 Constitutionality of
                                                                                                                               1
                                            ·lf '446 Amer. w/Disabilities -      '"' 540 Mandamus & Other                      " "465 Other Immigration                                                                                                 State Statutes
                                                        Other                       1                                                 Actions
                                                                                 " 550 Civil Rights
                                              11•·443 Education                  fl.. 555 Prison Condition
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                                                                                          Conditions of
                                                                                          Confinement
    V, 0 RIG IN           (Place an "X" in One Box Only)
    " I         Original
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                                                                                                                         '4 Reinstated or
                                                                                                                              5 Transferred from      Iii   ·ii 6 Multidistrict                                                                        '11   '8 Multidistrict
                Proceeding              State Court                            Appellate Court                              Reopened
                                                                                                                                 Another District                   L1t1gation -                                                                                Litigation -
                                                                                                                                 ('pec(/y)                          Transfer                                                                                    Direct File
                                                 Cite the U.S. Civil Statute under which you are filing (Do not citejur/.wllctio1111l st11t11tes unless diversity):
                                                                                                                          28 USC Section 1441
    YI. CA USE OF ACTION                        t-B-r-ie-f-de-s-cr-ip-ti_o_n-of_c_a-us_e_:_P_r_o_d_u_c_t_L-ia-b-ili-ty----------------------------


    VII. REQUESTED IN                                 CHECK IF THIS IS A CLASS ACTION                                                DEMAND$                                                             CHECK YES only if demanded in complaint:
                                                                                                                                                                                                                                                   1
         COMPLAINT:                                   UNDER RULE 23, F.R.Cv.P.                                                       $300K +                                                             JURY DEMAND:                               XYes          ]fNo
    VIII. RELATED CASE(S)
                                                    (See instrucliom):
          IF ANY                                                               JUDGE                                                                                                       DOCKET NUMBER
    DATE                                                                           SIGNATURE OF ATTORNEY OF RECORD
                 14 January 2019
    FOR OFFICE USE ONLY

          RECEIPT Ii                    AMOUNT                                            APPL YING IFP
                                                                                                                                                                    Case: 2:19-cv-00030
                                                                                                                                                                    Assigned To: Pead, Dustin B.
                                                                                                                                                                    Assign. Date: 1/14/2019
                                                                                                                                                                    Description: Dhesi et al v. Volvo
                                                                                                                                                                    Group North America et al
